
PER CURIAM.
The Court has duly considered the motion to assess damages against petitioners under Rule 3.9, Florida Appellate Rules, 31 F.S.A., and Section 59.33, Florida Statutes, F.S.A., filed herein June 22, 1961, the renewal of said motion filed herein August 11, 1961 and the arguments of counsel for the respective parties on October 16, 1961 and the reargument on May 15, 1962. WHEREUPON IT IS,
ORDERED that said motions be and they are separately and severally hereby denied.
ROBERTS, C. J., and TERRELL, THOMAS, DREW, THORNAL, O’CON-NELL and SEBRING (retired), JJ., concur.
